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Exhibit K
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TTY Forum

Digital Systems

3 Vs
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TDD FORUM -=-13

DRAFT .01
a - (November 19,1999)

November 18, 1999
BWI Marriott _
Baltimore, MD

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_ Page 311

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1. CALL TO ORDER, INTRODUCTIONS AND ATTENDANCE ROSTER

Todd Lantor, co-chair, PCIA, and Brad Blanken, CTIA, called the meeting to

— order; introductions were made, and the attendance roster was circulated: 9 =

2. CALL FOR AND NUMBERING OF CONTRIBUTIONS

Contributions were submitted and numbered as follows:

Number Document Agenda #
TTY Forum/99.11.18.01_ Agenda 1
~~ TTY Forum/99- 11 18.02” iDEN presentation by Mototrola v
FY Ferum/o9o-+t48.03-—Fest data status report +
TTY Forum/99. 11.18.04 Consumer Update e-mail 6
“TTY Forum/99-'14-18°05 3Com-and Motorola presentation TO ee
TTY Forunv/99.11.18.06 Meeting roster 4

~~~ 3- REVIEW & APPROVE AGENDA

— Ti f. Jam tt} 4. f
Mile agentd was OISstpuleg

4 REVIEW & APPROVE TP FORUM = 12 SUMMARY

No poneeiene were “noted. “Any comments or comections. can be addressed fo

Todd Lantor or Ed Hall via e-mail.

5. TTY LIAISON REPORTS: FCC, CTIA/PCIA, NAD, TDI

Todd Lantor announced that Karen Straus has moved from her post at NAD to

“join the FCC as Deputy Director.
f

Marty Lieberman-did-not have-any updates fromthe FGG-at this time—
Todd Lantor noted that the TTY Status update had been completed and

submitted to the FCC and the industry to chronicle the activities and

advancements_made-by the TTY Forum-_over_the last year—Meetings-will be-held

with the FCC in the next several weeks. Todd Lantor, PCIA, asked that any -

information that consumers or the industry woulctike to be conveyedto the FEC—

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should contact him-or Ed Hall, CTIA, to have the information includedinthe =

presentations.

___6. CORRESPONDENCE ne
Judy Harkin, Gallaudet, reported on her memo summarizing the consumer

requirements update after the presentations in september to identify possible

_____sencerns_particularly related to roaming_and reaming with-various-air interfaces

Judy offered that Todd Lantor can distribute the memo to the group.

solution Ericsson feels that itis important for the group to have all the

information regarding the particular solutions and that the FCC Is privy to allthe _
—_—information-as-well-Steve is available to-answer-any-questions that may-atise———————

from the reading of the TTY report. The September meeting allowed increased

understanding of the Ericsson solution. Ericsson would like to advance past the

and_an update ofthe status of TTY issues as they relate to expeditiously select a

single solution for TTY over GSM networks. The decision-making process may

“Steve Manneta, OmniPoint, added that T1P1 has made an immediate response _

to the request from the GSM users group asking for help on choosing a solution

by pu itting the issue on the calendar for this week.__The issue is being seriou isly
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i re

- 2 worked but Steve wants.to_add that the issue must.go.through the | European. . _

community which takes longer but is being expedited.

CDMA has moved forward with their Lucent solution and is expediting their _ a

activités.

8, VOICE BASED SOLUTIONS (Formerly “short term”)

Audrey Longhurst, Motorola, presented the IDEN TTY solution for the iDEN air
—itetae whic used NEXTEL art Souter ne IDEN everager GSH

butuses a different air interface requiring a different TTY solution_The iDEN

WORKS

solution will meet the consumer requirements and will support VCO/HCO (an

yoda app te ; a} Ef bey "PAZ ef 4 ol § bo f J al
avai accessory Wit be FTEQuiPeaQiriuie tr Qevice GUcsl lt Mave a oVeancr alta

microphone). The solution will support 45.45 baud only. ANI and ALI will be

provided for TTY calls. The solution will not require two-stage dialing. A2.5mm
ble-witl-be required and supplementary services {Cal Hold,-Calt- Forwarding;

6
etc.) will be. available where available for voice calls.

~ Al Sonnestrhal asked whether the system is between a voice user and a TTY

usercora TY to TTY?

~ Answer: The path is the voice path but there is no assumption of a voice at the

1. AN FTY

otherend: A TTY to TTY willbe accommodated automatically.

Marty Lieberman, FCC, asked _if there is anything that the Lucent solution, with
regard to iDEN, does not provide. Audrey stated that there was nothing to her

bem auslacdea
ATTOWIOCUQY,

Dick Brandt, Gallaudet, stated that the frequency shift keying is out for ballot

currently. Dick Brandt updated stated that the physical aspects of the 2.5 mm

electrical standards are clearly defined and do not need further definition, only

consolidation ina TSB.

An e-mail was read from Steve Benno, Lucent, stating that Lucent has decided to

~ ~distribute-the TTY solution, royalty-free, to all using the-solution. The-Lucent

i.

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/ Solution willbe available free of charge and is projected.to be available in the __ __ a

spring of 2001. Lucent noted that it is not relinquishing the patent rights, just

9. REVIEW/OPDATE APPENDIX D - Test Completion Matrix

A contribution was received this morning from Mitsubishi on testing that was
completed January, 1999 and Brad Blanken-willLadd this to Appendix-D—Ne-one

document available to the TTY Forum for review.

10. DATA SOLUTION (FORMERLY “LONG TERM”)

Ben Cardwell, 3Com, and Tom Weiss, Motorola, presented a data solution for

FRY {2 PAR AA yy

A + + {i + } { > ae pc 4. +
Yover CDMA. V-té support was originally inciuded-as an optional feature in

IS-99 ( the original specification far CDMA) and is now IS-707-A_3Com and

_ Motorola collaborated to bring this feature to market by year end 1999. This

lhe solutions uses AT commands and Serial data are used to controta modem in

TTY device and works fully digitatty tt

update, TTY compatible software will be available from 3Com by the end of
1999-Itis designed te interface with-all-_ueent_Moterela_Nertel netwerks._tThe

same model can be used for TDMA and GSM with simple protocol changes.

Dick Brandt askediLthere is support of V.8 or V.8 based._The 3Com_answered

that it is available but no TTY devices use V.8. Dick noted that future TTYs will

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_ move to.V.18 and that. requires V. 8 capability. -3Com.canuseacommandto_.__

detect V.8 and also can auto-detect V.18. Judy Harkin notéd that the matrix

4 th clot Pedy
comparing data and -veeeder solutions was_less-generous-te-the-data-solution

since the volume contorl was not. applicable and a wireless retrofit w.

acceptable.

Wireless user to wireless user is in effect today via text-based interface. Judy

Harkin asked about the cal progress indications. Motorola stated that the same

call progress information was available as ina voice call — connect, progress and

disconnect information. Dialing information is also available — dialing, connect,

I Ly

4
t

kK + CG AE Ley + + i £1 fa; wt deb S$
VOsSy, CvOr GH Conc PF Ou TS MOURTTIQ Tat POW OTrUie ie = Te, af tasnt YTeg Tyr to

tell whether the answer is a voice, answering machine, etc which is important to

~ - ‘a deaf user. Motorola stated that itis a limitation on thé data Side because the ~ -
calls transmitted as-data._Dick netedthat-one-ofthe supported issuesis Circuit

135 and was in the original spec so Dick believes it may be supported in this

environment. Motorola will check into this with standards but did not have this ~

issue-as_theirfocus.

Q. Is there a distinguishable difference between a TTY IWF call and a normal

WF call? Answer: tothe switch it tooks like-a normal calt-butthe-cail log will

identify call as voice. or TTY A carrier who has this analysis available can make

this available in their statistics servers and metrics servers.

~-Q. What is the functional effect-on the user-of-receiving-a-call-of this type? Q.-Do

you know whether you are receiving a phone call vs..an e-mail? Answer: You

could get a short message ora cell phone using short messaging Sérvice. But

-you have to-have a-pre-arranged-signal-to-be-able-to.attach-a TLY.-Brad.

Bianken clarified that this is nota simple answer since it matters what equipment

yourare using. If youare using a laptop you woutd have tobe set up in advance.

The.system knows that-a data.callis-being placed toa mobilephone... If-you-were

quick enough you could theoretically plug your computer into the phone. Judy

{4 Lee fim of 4 } af ad bey wh £ Jed} 4h 441 en cy ;
Taran Walited tO Cicf Ty WU Gear persorr would nnow t Ty Were QetniG a VOICS™

or data call. Q. Al Sonnestrhal asked if the voice call takes the same amount of

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ao. time to place_as.a_normal_voice call_to.9-1-1? Answer A modem.connection

adds 10-15 seconds whether on a landline or a wireless line. The wireless
environment could add2-secends——__-—

How does the user know which mode the call is going to be forced into. Answer: _

It will be forced to 5 bit Baudot first, then 166k for other protocols to complete the
Call Dick Brandt pointed-out thatthe 9-1-1 call.will have-delay on the answeriag—————____

protocol.

A! Sonnestrhal added that the call takers are trained to listen for sounds in the

background before transferring to a TTY call Dick Brandt would like to know

LK j din - Jom bel fa eat Phebe pene.
HOW TORQ Ue TOoGeTHT TOs DETOre SwitCriitg

3Caom will take that question as a follow up question Dick Brandt recommended

that since most modems can detect voice and that the system should bé set fo

din thy 4 4 {
TOUTE TICAU PTOLOCUT,

~~ Qr Al asked if there is a way to show the difference between voice or data?” .
—____________ Answer: On a data line-the-call would indicate-with-a-word“busy”_on the phone._— -

A data call would not complete if a line is not active or there is no modem on the

other end-of the line: ~~ ~

Brad Blanken.clarified with a comparison to the internet which give written

feedback that there is no carrier or answer at the site.

Al-peinted-out thatittakes several seconds forthe feedback to-pop-up: 41s there-a-

way to make that faster?

Answer. Forcing the V-18 Command would make it faster.

Dick-Brandtaddedthatifthis -device-supported-Circuit 135 this issue would-be

resolved.

Tom Vveiss further discussed the user requirements as they relate to using a

_.RS232. Currently no-TTY.supports RS232.or this.solution.on_the-wireless_side..

Ron Shchultz, UltraTEc, agreed that there are no TTYs to his knowledge that

+

rte DOOAQS et + ft 4 bn ats f jet
SUPVOrls NRoZzoZ al Was TiO abide tO COMMCHT OTT WileuTer ai TY Piatto CATO

include this feature inthe future. _ _ ee

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Issues that exist forthe data solution are: the non-provisioned handset support, Re

latency, and 2-stage dialing for call back, and non-support for HCO/VCO.

Dick Brandt added that the best way to accommodate. this solution would be t to.

equip TTYs with the RS232 device so the cabling is simple. 2 Stagé dialing is a

cencern-but-a-_better answeris that 2 stage dialing may be required-depending-on

the network setup.

The tests were run on 5 or 6 of the most popular TT Ys avaitabte.

The presenters ihanked the audience for their feedback and_will work on the

issues raised.

11. TTY TECHNICAL STATUS REPORT FORMAT

_ After praviding opportunity for. the Forum members to read the document, the

floor was opened to discussion.

Dapraesst rcraomtacditih &
a Panasonic COTrecteyg UT Ss

e 13k vocader c on CDMA is noted_as a correction

e Page / paragraph 3.1.1 - addition: PN-4558, and after “vehicle interface

FROA aaonda 4 a_af. 4
TOGA, dod 2 Uh tU SHG OT SCcrinleniOoec,

4. eLarele! 14 lal EC
Slay IU ar Wo aA To

12. ANALOG/TTY CAPABLE PHONE LIST

Brad Blanken, CTIA, produced a list of all compatible equipment supporting

section 255, & TIA does not have the FESOUFCES to maintain ine list but oners the

ability to template and sunnly links ¢
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mplat nd-supply

Discussion was encouraged on the carrier/manufacturer willingness to assist.

Jim from TDt made the comment that many organizations are interestecin this

information and wants a wab- site address to_be advertised to the consumers

CAN and SHHH both feel that they could help with consumer understanding of

thet ssues related to- compatibility The question was raised as to the best

location to disseminate the information to the consumer Jim, TDI. v would like the

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~---_—_ ATTENDANCE...
NAME COMPANY ——_7 PHONE FAX 7 E-MAtE
Btanken, Brad CTA 202-736-3636 202-466-7239 Bblanken@ctia-org—
———~-Bonner, Brye ——_-Motorola-—— - —-}- 847-576-5920 847-538-5564 _Bonner= -
—_—]--- +} — ———_|_-_—_____—_—— + -edyna30@email.met
com
Brooner, Mary Motorola 202-374-6900 202-842-3578 Amb004@email.m
——- ot.com
| Brandt, Richard | Gallaudet 908-735-6171 _| 215-790-3208. | Brandt@gallaudet, _
University edu -
Coleman, Randy | CTIA 202-736-3256 202-785-8203 Rcoleman@ctia.or
g
Coston, Steven | Ericsson 919-472-7527 919-472-6612 Steve.coston@eric ~
sson.com
|} Dunne, Toni | TX 9-1-1 Comm =| 512-305- Ss] -4512-305-6937 — tdd@earthlink.net
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= Pec Com
Hall-Ed CTIA 202-785-0081——_|- 202-466-7239 —_|_ehall@ctia.org
— ———}Hall,Lynsie____| Wallis.& Assoc__| 410-489-2808 ___|-41.0-489-2806.__|_lynsie@erols.com
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Brenda MD Relay dus
Lantor, Todd PCIA 703-939-0300 703-836-1608 lantort@pcia.com
Leung, Nikolai Qualcomm Inc. 202-530-3927 202-833-2161 | Nleung@qualcom

m.com

Liebman, Marty FCC 202-418-0633 Milieoman@fcc.gov
Neeley, Doug Nokia 972-894-5782 972-894-5782 Doug.neeley@yah

90.com

Parker, Virginia

Qualcomm Inc.

619-658-4789

619-651-8962

vparker@qualcom

m,.com

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Sennenstraht ALCAN 304-770-7555 ~same— ——— ony @elaiicnel
aaa _ yp a _. .
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_|_ Cellular s.cam
Uzuanis, Richard | HITEC 630-654-9200 630-654-9219 _| Richard@hitec.co
m
| Wells, Ken __|_ Philips Con. _132-878-8436 __ | 732-463-6868 | Kwells@pcc.lucent |
Comm .com
Whritenour, Lee | Bell Atlantic 908-306-6485 908-306-6489 Iwhrite1 @mobile.b
Mobile am.com
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Wiiams, Norman | Gallaudet 202-651-5257 202-651-5476 nswilliams@gallau
7 | =H niversitye oo op an ha eset =

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(April 5, 2000)
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Gallaudet Univ
Washington, DC
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1. CALL. TO ORDER, INTRODUCTIONS AND ATTENDANCE ROSTER
Todd Lantor, PCIA. and Ed Hall, CTIA called the meeting to order, introductions were made and

attendance roster was circulated

- CALL FOR AND NUMBERING OF CONTRIBUTIONS

Contributions were submitted and numbered as follows:

nN

Number. Document Agenda #
TTY. Forum/00.04.05.02._ Draft meeting summary A oo ce _
TTY Forum/00.04 05.03 Report of the TIP! TTY ad hoc 8
TTY Forum/00/04.05.04 BAM Digital Cellular Service for 6
Hearing and Speech Impaired

TTY Forum/00.04.05.05 TTY Smart Cable 9
PTY Forum/00.04.05.06 Signal Adaptation Module 8
a a TTY Foruni/00-04:05-07° Descriptiorr for Global Text 6
Fetephony -
FEY Porum/00-4.05-08—\_Letter from-Eriesson: 6
TEY-Fornum/00.04,05.09 Gregg C._ Vanderheiden Ph.D. 8
TTY Formm/00.04.05.10 Qnalcomm report of V_18 featmre 9

3._REV- ee NDA

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THE AE EAA Was-CAS HLS UES

4.-- REVIEW. & APPORVE TTY FORUM-14 SUMMARY...

No corrections were-noted_ Any comments or corrections can be addressed to Todd Lantor or Ed Hall

via e-mail

5. TTY LIASON REPORTS: FCC, CTIA/PCIA, NAD, TDL _
FCC- Marty Leibman, Wireless Bureau will be putting out a notice that will be seeking comments
from consumers, manufactures. and carriers concerning TTY
NAD- Not enough representative for the meeting
~ CTIA-

PCIA- Todd Lantor had no report al this time
TDI- TR30 report will be published but the release date is stilt in question.

dy-cenec pert:
o-diseuss the contribution:

~ CT tArdistributed the contributtor by Belt Athantic Mobile: A sitent review of the document
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a thor, feorx
Was conducted: tere were Noe representatives TFONT

Steve Coston,.Ericsson, updated. the group on the cover. letter.stating that Ericcson swilL offer_non-
exclusive, royalty-free licenses under Ericsson patents for all TTY users. There were no questions for
Steve Coston.

Steve Coston, Ericsson, discussed Ericsson's work item concerning the development of global text
telephony, which supports real text time conversation fulfilling the FCC requirements. The text
“telephony Was téceéived and accepted and will have a TSG number assigned. Steve Was asked Whether”

or not the text Rey willberelated to JUPP, SICVE Teplicd thatitwas technology neutral and wilt
support TTY devices:

“a
Hs

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a 8. VOICED BASED SOUI UTIONS (FORMERLY SHORT TERM) —
Bob Hall, Chair of GSM TIPL5, gave a report.on the decision made at the interim meeting, addressing

TTY. The main item discussed was looking for a solution to the FCC mandate through an

international aspect. They agreed to use the 2.5mm auto jack, they are also looking to ) put out a TSB,

creates a greater possibility for a smart cable to be im plemented in a shorter time. TIPI.5 made the

decision to use Ericsson’s mobile solution, which includes the TTY detector and modem,

Issues reinaming from the TIPTS Aneeting are: Complexity needs to be down, timing issues. and delay

TAO Ly

tpacts of solution, Voice Carry Over (VUU) was addressed and sotutrom was met, there wilt bea

———teport addressing the related item: “Fhe-AMR code gives you-@ better sounc-base- Rather than-altering-———-----__
- the Kodak-we-nill-_put-something-in-front-of it.. Tandy-Free-Operations.(TEQ)-makes-sure-that-there-is-
aimodem_on the other side

TIP1.5 is looking to make TTY part of 3GPP, which makes it part of GSM

The working plan for T1P1.5 includes an overview of the modem and the code of the modem, which

will take place of May 17, 2000. Hard copies will be available and will be posted on the web by May
25. The web address is www.tl.org. A point was brought up from the group for the plan to be

posted on the list serve. Ed Hall, CTIA, will have the necessary documents to be posted on the site.

The key word is TTY

- Judy Harkin, Gallaudet; brought up the-point-to-notjust look-at-944-for-delay-butfor all voice-calls-in---— —-
the TY P1 ctondoard She helievec that the iccyec need ta he addrecced ¢ reeorefallk: Rab Hall

TOO EE Staal -DeHCV es Tat the 1SSues Ned tO Oe ta Gressce Aro re Caren y 300 Ha

TIP15_addressed-the issue-and_they agreed to be more sensitive Steve Coston, agreed _to bring it up

in_his next meeting

The next meeting of the T1P1.5 will be held on May 8-12. There will be a contribution from TIP1 5
to the 3GPP meeting, June 5-9, making sure the Kodak people will be aware of the Ericsson solution.
Q: How does 3GPP plan to support TTY?

A: TTY has met some resistance from 3GPP, TIPT.5 is looking to have them support the Kodak and
also looking at 3GPP2.

CW ttt TIFT DO USINE the SAT standard OF adifferent standard iT the phone?
A: The-standard-wti -teH-you if-vyou-need-a-smart cable or not. T1P1-wantsthe-integration to-come

ASAP lookinsto-have-a network solution
ADA AEH a HEBVOH SO HOH-

Steve Coston, Ericsson, addressed the forum about their Signal Adaptation Module (SAM), Mr
Coston told the group that the solution should focus on. the integration of the cable into the phone
Ericsson's SAM not only meets the requirements of the FCC but also serves as a solution for GSM. By

using the SAM detector in the modem, it has the ability to detect and modulate the transfer into digital
bits. The solution requires modification at the terminal side and at the base station level. The
flexibility of adapting modem protocol into the base station provides a higher degree of error
correciion. The solttion connects through a2 sini Cable auto jack

Q: Ts the catt city different thar daily regular cat?

A: -No-it-will- come-the-same way--The-foeus-is on-the -vocoder--We-will not-alter-the vocoder, but-put-

something i in front-of-it.

FEO -G-

Q-: If there was not.a. mobile out there, what will occur?

A. The handshake will not occur.

Q: Do they have both technologies working?

A, It is expected that both Lucent and Ericsson will be working simultaneously for CDMA, TDMA,

GSM, and AMPS.

steven Coston. Ericsson, stated that SAM meets all the [3 requirements implemented by the FCC.
The solution supports botir Voice Cary Over (VCO » aud Hearing a Over aa ). He atso stated
that if there WOLG HU handshake occurring betw QUE the terminat anc base station, the tones W outd Pados

- straight through--After- recognition from-modem, the-handshake-will start-assuming that-there-is———-

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Seeking Solutions to TTY/TDD Through

“Wireless Digital Systems _

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Baltimore, MD

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1... CALL. TO ORDER, INTRODUCTIONS. AND. ATTENDAN CE. ROSTER _
Todd Lantor. PCIA, and Ed Hall, ATIS called the mecting to order, introductions were made and

attendance roster was circulated.

Ed Hall noted that he has left CTIA as AVP of Technology and Network Ops and is now working for
ATIS as the VP of Technology Development. He noted he intends to continue working as co-chair for

this Cominittee and offered to let the TTY Forum discuss his intention to stay as co-chair. CTIA noted

that now that ATIS ts ‘working with this committee, CTTA will continue to work with the TT Y Forum.

(SOTA 44} Sp

CTIA noted that THICy feltit-was best to altow Edt Hatt to-continue as the CO- Chrair with AT TO Prov Tding:

—__—!—]1——-2,_ CA EE FOR AND NUEMBERING OF -CONFRIBUTIONS
—ssosoststststétSMH contrib rt OTIS Were Sut tec amc mi ere as follows
~ ~“Nuwiber Documient a Agenda #
mjmpy7 fn 477-4474 1 A of 2
ITTF POU OUO UT TT Ur AARC >
TEY-Forum/00-074-1.02 Draft FFY-L4 Summary __4
TLY Foran/00/07,11.03 TTY/TDD Sohition Testing for CDMA 10.
TLY Form/00.07 11.04 T1P1 Document (copies to be distributed) 10
ceo ee. APY Forny/00.07. 11.05 2.5 millimeter jack (verbalcontribution) 8

4, REVIEW & APPORVE TTY FORUM-14 SUMMARY

No corrections were noted. Any comments or corrections can be addressed to Todd Lantor or Ed Hall

via e-mail.

5, CORRESPONDENCE

Ed Hall, ATIS, and Todd Lantor, PCIA, noted that they have not received any correspondence since

the last forum.

6. TTY LIASON REPORTS: FCC, CTIA/PCTA, NAD, TDI

FCC- Marty Ceibman noted that they are evaluating comments received regarding public notice

FEE z

process concer ning 7 Y and have nothing new to report:
N AF).

NI tax, fag thou 44
NAD-Not enough representatives tor the mecting
CTTA- -No-report at this time

aa TP ORES

PCIA- Todd Lantor had no report at this time.as.the public notice process. started in May. He noted.

that he had received comments from 20 representatives who filed and that participants could review a

those comments during break.
TDI- No report at this time

7. FCC RULEMAKING

Todd Lantor, PCTA, gave an overview on the FCC public notice for comment. released on May 17.

2000, which noted that text telephone and wireless be compatible. He noted thal some issues were

—how tong to develop and imptement handsets to achieve tis solution, intrastracture, and testing.

Fodd-notedthat-some-comments-were received by manufacturers—assoctations—cisabttities groups and—
-—€arriers— Some carriers commented -thatimplementation-could take until 2002.

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Todd noted that these comments could be downloaded fi rom the FCC web site and offered to give

interested participants instructions on how to download comments.

Sean Campbell, SBC, noted that we would naké the TTY deadline for the FCC mandate He noted

thanks to mantutacturers that helped SBC reach the FCC mandate. He firthier noted tat the operators

- “are not able to-makeany conmments requiring the manufacturers to have a mandate. ~He-noted- that 2~

time F porn t +]5 date ond acted + atl

1 Ad
FEEKS-TS- Trot enough THHnc ror Operators te-meetthe Mancate ang Aske otter eperaters are CORCEMCE

withnot having enough-time to meetthe mandateJennifer Kohls Sprint PCS, reiterated ECC

statements-and noted that carriers are reliant upon this product_She further noted that she supports

_Sean’s comments on the two deadlines, however, noted that Sprint PCS outsources to manufacturers.

and are reliant upon the manufacturer to meet the mandate.

A participant noted that because CDMA standards are developed, manufactures could not

automatically use those standards as a blueprint, though they feel they may be able to have a product

avallabie for the groups before the proposed deadline. Different carriers have different deadlmes and
‘Its unlikely thar operators could have this eee deployed? by the deadline: “He noted that live and

mteroperabttity testing is Oo uctat itr Or der to-see if the date needs to be pushed out: He noted that YO

a9rer-or mani faeturer_ba. te end to-eand entroLa pd-tharawe have-tosworlctecethor; +a

4
Cater oF iannraecurer nas: complete Ch tO-CRG- CONHOL aAnG- Hat we Nave-to-WworTrk tOSetner hkad

concerted-_effort.

CTIA noted that a concern for them is the issue of in-field testing. Preliminary information that CTIA

received caused concern whether the FCC deadline could be met. CTIA recommended that the FCC

date be flexible. They also recommended that the field-testing be done so that carriers and

manufacturers can work together.

scan Campbell, tioted that SBC suggested several outlines so that the FCC would be notified in order
‘to suggest aalternate date>- CTIA ao nianufacturers

1. qty oy 3 41 JPy7

1.
atic carriers shouted try to-resotve tins issue. STV THe 7d POrURE has completed reports to the F CE

Cid
CTEA-does notivant the progress_te-be slowed by-monitoring problems.

Todd noted comments received by SBC to the FCC, in which SBC proposed a 7 step monitoring

reporting program that could start as early at 9/30/00. Todd noted that it is possible that TTY could

provide quarterly reports to the FCC. He noted those two problems are that reporting on a quarterly

basis is very frequent, and that receiving and understanding the information in that short period of

time could be a hurdle. Ultimately the report would fall on the TTY co-chairs. On such sensitive

matters, Todd noled that he is not sure that this forum would suit fe industry s purposes.

Sean Campbell noted that if the information-was sent to the forum verbatinr from the manufacturers,

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a-FE

A participant asked if the information that would have to be provided is proprietary information,Ed

responded that the TTY Forum was gathered to address technical issues. He noted that he feels TTY

has done an excellent job in resolving technical issues, however, this forum needs to determine

whether it wants to take on the administrative duty of reporting information to the FCC. In doing that,

the TTY Forum's participants could change from those who want to resolve technical issues {6 policy

makers:

Judy noted thatthe TTY orum-has not had equat-participation-and-wondersif this forunrhas the-clout

brinearthictond ofanfermatien—She furtther-noted thatthere cheyldte-he interne rig

te OLS Th OHS SEC OF Tin Oo Finavon. She TAtTACE NO teG_ that there SHOUTE te-be+nternim Fepor trie

however_she does-not want to-see-the forum turn into apo olicy: regulatory eroup—The implementation

hows th. far inte-a-po group.
is still technical

Todd noted that the forum could serve an enhanced service as we are dealing with a federal mandate

‘to meet a particular need in our societ ae He noted that we shonid work together to make this occur.

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__ The key to making this work is infor mation exchange. One example is that CT 1A. standards have
particular ttems. but also has optional items. Perhaps this committee could hold teleconferences to _
include manufactures, He noted that if we could have active exchange, some companies may
determine that information as proprietary, but to achieve this aggressive timeline. there needs to be
more active information exchange to include testing and evaluations that could provide valuable

information. Ed responded that he understands hii to be sayimg that TTY c Casa platform to
core address technical issnesas they arise by carriers ard manufacturers. “In fieldtesting: real issues could-—~ — ----—

universal solutions for wireless TTY applications. The strategy side is that manufactures are
competitive and the market has not been tapped into as of yet as it is proprietary. He noted that from
the standpoint of participation, we look at this as a legitimate responsibility due to the FCC mandate,
however it does affect business. This information received during the monitoring process could be
shared with non-disclosure agreements, and if reporting is nécessary, il could be done in this forum,
a ~~~~He further noted that he did not see the FCC w, anting torreceive over” eee of redundant

information The resources are not available inthe FCC to-create quarterly reports. He noted that he

Steve C, Erricson, noted that it is evident based_on participation that we are working together on

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didnot see_nianurictures EeRCrAIHS FEpons -wHioUt eirenlating tHTOuUsR NCiT OW Cp ar Ge par onents,

which necessitates more time for reporung He noted that this amount of reporting could-overwheln

the FCC in_that respect. He noted that he is confident that manufactures are working together and are
Strategically putting the mformation in place.

Ed asked the group if they felt TTY should monitor and provide reporting.
their primary concern is providing emergency communication for all citizens. She noted that this
group has done some reporting along these Tines to the FCC and feels that this group could continue
to report to the FCC’ She felt our role in this forum is to participate together and those who do not
er - wish to report could be absent from those reports. — ,

reaction to SBC’s proposal

Ed noted that based on comments he has heard, the TTY Forum should keep their focus on technical
issues, He further noted that at the next forum 6 months from now, the premise could be technical
implementation challenges being faced by the industry. The TTY Forum will be based around
contributions given regarding these challenges. He noted that the TTY Forum could identify
challenges. Two months following that, the forum could request that comments be sent 10 the FCC.
He noted that he does not think the TTY Forum should be involved in that process of comiicnts,

- ~ however it could-act‘as a forum for discussion. He noted that TTY could meet the monitoring

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Sean_noted that he feels that comments should only be filed by the party responsible in an effort to not
overwhelm the FCC. When the software is then turned over to the operators. the operators could then
comment. CTIA noted that if the disability community wants to participate, the FCC has to allow
that.

A participant noted that the reports should be to achieve a useful purpose. The participant would like
to see the forum implement something more, based on the hearing aid issué that was addressed in the
past He noted that conference calts are hetpfut to facilitate this information sharing a iran

~ effort to cut dowrr-omthe high costs of travel. 7

—________________Sieve Costen, Ericcson, noted that-itis hard to bring multiple carriers and-manufactures-around the
table and is not sure if the TTY Forum is made up of enough of the proper members to discuss the
high level of technical issues for carriers to implement the TTY development. He noted that Non
Disclosure Agreements would help manufactures to work together with their carriers to come up with _

solutions. He noted that realistically we are 17 months away from that deadline today, another 6

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months to create, “and 2 months to pive comment ona areport. He noted ‘that there is a lot of

information the carriers and manufacturers defined in the FCC public notice.

Ed noted that what he 1s hearing is that the TTY Forum shouldn't have any interface with

implementation. Jennifer Kohls noted that over the Jast several forums, the mandatés have been met

and the Stangaras have been developed. she would like to see this form develop Tmiore of the _ —

ee ~operatiom implementation -anclissues sur ounrding: -ongomg: ‘oper. ation on how to service customers:”

___Howeversshe-agroed that individual customers contd be-sor ved by Not Diselostire A Agreements-ducto

this being a competitive issue,She further noted-that this forum could _be-broken dewn-into

workshops_to_address more specific concerns _

Ed noted that there is an ongoing Appendix E that is a list of requirements what should be

implemented in the infrastructure and handset structure. There is no requirement for manufacturers to

reach 100% of these requirements, but as many as possible should be met

~Tont Dumic; NENA; iioted stipport trom the 91T commmnity on the TTY Forum efforts: Shie noted

that she-wontd tke to see a subcommittee established to support the fieltesting:

Claude Stout noted TTY Forum twas established_to meet the FCC mandates He would like to see the

TTY Forum focus on technological issues as wellas policy issue on the side of the technological

issues. He noted that there is a need to speed up the lab testing and cooperate with the FCC and 911
industry. This needs to be done before this forum discusses strategies and marketing. Claude would

like to see this accomplished before the Dec. 31, 2001 deadline. [t has been four years and this forum

has had plenty of time to come up with the strategies and marketing.

The SBC Wireless hing 1 noted The follow: wing ¢ dates that camicrs/manutacturers shonid report to the
—FCCD ~

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9} 307 OTE YE DOP Standards
12/31/2000—Network Infrastrueture/TTY Forum

TINT OTS Hats CEC Ea OCH

LB1P200) — Report on handset development and testing plans

4/15/2001 — Midpoint report that would be filed by network intrastructure manufacturers. This report
_would include prototypes, consumers testing results, and beta and lab testing
7/31/2001 — Software availability

09/15/2001 — Last report by operators

12/31/2001 — Full acceptance test

SBC noted that a set schedule of report dates ts ticeded to ensure that the deadline is met. The dates
that'SBC-has proposed are not firntly set but-aset of dates is needed in order to for the industry to

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Jennifernoted that even with an ageressive lab time the network infrastructure needs to work, then
trainmg of the marketing personnel must be done. Training cannot be done until the product is

_working in the network. In regard to the proposed SBC dates, they are too frequent for manufacturers
to keep up with and the market is too competitive to have reporting done in this manner.

In response, SBC noted that the dates are a representation of milestones that neéd to be met in order

for the industry to meet the implementation deadline set by the FCC. The proposed dates can bé

altered, bur the idea of having aq set of milestones im necessary.

ted-that facturers-and cartiers-e Fterthat-state-either ————_-__—___—__—
sTHotee rat mane acte eF a

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2
opardy” report status or a report that-state the manufacturer/carrier is havi 4ing-no problems.

Het:

Claude noted that the product and services should be available in 2002 with the SBC proposed.

milestone dates. It was asked if the FCC intends for the products to be available in 2002. The

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8. TECHNICAL STANDARDS ACTIVITIES UPDATE (CDMA, TDMA, IDEN

GSM) UPDATE APPENDIX J

—Doug-Heely, noted that.afew years ago,CTIA requested-TIA to.standardize the interconnect__
between call. phones, _ This request for ‘standardization went fo TR45 and was processed to the.
AMPS group. Doug wrote the standard for connections and electrical levels. however. he noted

that most phones have a variance of electrical levels. He noted that he had a call with the AMPS

group and they are currently working ou this standard. He expects to have this document

completed and out for ballot i in | approximately 2 months. This document is called TSB —121
~ Project Number 4458.

Ed Hathnotecthat if Lean hachany additionat updates, please send over the list serve Ed
7 = dix_Land L olayifj
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Py and Fr the BR
tients Appendix JHE FCCC CE clarification: ane correction from-the ferunt Cit

documents-that have been_sent-ont-for ballot or-have completed that-ballot process. Ch: ALES will

lments-that hay TEAS thet Oa

_ ...be_reflected_in_Appendix J_- Technical Standards. Reference Guide.. Ed noted that the next
rendition of Appendix J will be accurate. All listed m appendix J are full interim standards, with

the exception of PN4558. All interim standards have a shelf life of 3 years. After 3 years, they are

referred to become ANSI standards. A participant noted that the IS can remain an interim

standard.

9. REVIEW AND UPDATE APPENDIX K

Appendix K — Glossary of Térms.

19 VOICE PASSED CO CHO

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fk qq 4 C
C*xTIPL3 & 4 should-be attached to this meeting record —eet-seft copies**)

TIPL3.

Bob Hall noted that the purpose of this ad hoc was to meet the US mandate first and then international

mandates, Bob also noted that the solution they are working is called Cellular Text Telephone Modem
(CTM). At the July 24-28 TIP1 meeting, the group will review the documents line by line and try to

produce a completed document.

It was noted that it would be nice to have a low battery Ww. ‘arming especially ina 9TT situation. In respomise,

Bob agreed but noted that the standard does not require a smart cable at this time.

PEM IPR D. SC alt aa Patt for CDA
VI ET TOTS SOTHTrOn tr VSUOTE PUD CW DIIVITY

ntley_noted_that-the release-of the FFY/TDD.-Solution has-been-difficult-to complete-for numerous

reasons._[t will be concurrent with.2 other major VQ features_and it will support both cellular and PCS

frequencies. Jim also noted that there are nearly 500 Baseline. Live and Streaming lab tests that must be

completed. The DSP Code upgrade for false alarm detector contact is Dr. Steve Benno, Lucent. Jim noted
that the lab tests are about 20 percent completed.

A question was also asked who will receive the results of the testing. In response. it was noted that they

will be giver internally at Lucent and Jim Could also write a report for the TTY Forum. Tt was fioted that

Jim is unsure wirat STEpSs will be taken after the test results are it.

CDMATTY: Voice Quality ng = May — Aug. 2000

First Office Application — October 2000

General Availability — December 2000

TDMA TTY: Voice Quality Testing  — Nov. 2000 — Jan. 2001

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First Office Application — April 2001
General Availability — June 2001

It was asked if every switch would have to go through the same process which Lucent is going through. In
response, Jim noted yes. [If was noted that a carrier who has four different switch vendors would have to go
a ougnth this Process with each vendor” ~ ~ ~

noted that CDMA reporting and oe are Sinaia piven-tl the FR45.3.5 group, however_nowork has b been

___done_on the TDMA, therefore_no reporting and updates have been given to TR44 3

It was noted that Lucent should inform the TTY Forum via the list serve when updates are needed.

It was suggested that the importance is between the interoperability testing between the handset and switch
vendors. —

a 11.. DATA SOLUTION (formerly LONG. TERM) NEXT MEETING ———

12. NEXT MEETING

Ed noted that there is a tremendous amount of work that still needs to be done. The TTY Forum needs to
focus in on the coordination of vendors testing, identifying implementation issues, and sharing work plans.
Ed proposed that the agenda for the next meeting should be to focus on the technology work plans that need
to be completed by 1273 1/01 (GSM. TDMA, CDMA, IDEN). He also proposed that the next three
meetings be held 12700, 6/0T, and 12/0T_ Also, Ed suggested that carriers shiould Dene THO FCT Via The

cartier’ s website om 3704; WO and 370 _ these dates are approxinratety Sanronths aftera TTY Forum
meeting.

It.was noted_that foniun meetings are beneficial tothe manufacturers and_carriers-and_the forum should
meet more often then every six months. Also, submitting a written report to the FCC is repetitive and
unnecessary.

Agreement Reached:

The TTY Forum will hold its next meeting on October 24, 2000 (second choice is October 23. 2000) at
Gallatidet Uiniversity. Meetings thereafter will be held on an “as ieeded” basis: The samimmary of the oe

fy +4. Qetet 45904 sat t-te
ITOUPTUNC OCIOUCT Z000 meeting Wirt Dt formatty for warded TOURS POC Ww ith dT COVET tetter Ww ritten by the

Co-Chairs. Furthermore, on-a-voluntary effort,-carrier-will-post-a-status update-on their-website-and/or-the—-
TTY list-serve-on 3/04. 9/04. and 3/02.

4-H Eo

The agenda for the next meeting will be to focus on the technology work plans that need to be completed
by 12/31/01 (GSM, TDMA, CDMA, IDEN).

13. NEW BUSINESS

14. ADJOURNMENT
~ Ed Hall: ATS. thanked everyone for attending and adjourned the meeting.

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Exhibit N
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TTY Forum
Seeking Solutionsto TTY/TDD Through-Wireless ———__—
_____Digital Systems —___

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“ATIS Conference Center

Washington, DC

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regarding this agreement. Ed suggested that the TT Y Forum starting today would receive oral
reports trom various industry representatives fo be followed-up in a written format fo be submitted
to the chair. Ed will add those reports as an additional appendix (Appendix L) to the meeting
summary report and submitted to the FCC.

Judy Harkins, Gallaudet University, voiced a concern that not everyone attends the TTY Forum.
For this reason, there might be a limited set of reports from the industry_and it wouldn’t bean
accurate snap shot_of the true implementation status of the industry.

Andrea Williams, CFIA, noted that-this-is- srpeily the BG Csdocision: on-hew-to-handle-the-reperting

requirements: She CX tained that if the FEE ts oing toTe wire reportitge there ts d te at TOCCSS
o>

————trivotveds She noted that at least gomg through the TTY Forum would provide some

feedback/status update from the industry.

Sean Campbell, Cingular, explained that he believes we need more participation and that the
carriers need to follow-up with their manufacturers to ensure that implementation is on track.

Al Sonnenstrahl (“Sonny”), CAN, agrees with Judy Harkins and doesn’t think that having more

from the I ECC

DAE EE

Haren Peltz-Stratss, FEE notedthat-tinder Seetion 255 there-was a parallel obligation for—
manufacturers to comply with PRY. She suggested thatthe carriers use 255 to folttow-up with the
~—nanufacturers. nnn

Lee Whritenhour, Verizon supported this and noted that all industry status reports submitted to the
chair will be sent out via the list serve.

Jennifer Cole, Sprint PCS suggssicd that the attendance roster be submitted along with the Meeting _

participants list of those who submit implementation status reports to the chair but were unable to

attend the TTY Forum

Agreement Reached: The industry implementation status reports will be added as an appendix to

the meeting summary (Appendix L). All written reports will be sent to the chair within ten working

days following the forum. This agreement will be sent out the list serve to ensure that all TTY
; nal Meeting §

submitted to the FCC and will become public record

Reloted Dicereccang
SRCraAttG Discussions
Td.
bts

St Ser ve Sone part ticipants wanted to know who Wado O1L the list eCrve anc how to sign ue Ed

noted that Norar W ittams, G Gallaudet University, TS the keeper of tite trst serve and that those wit
warited to sign up should give him their business cards” Sonny wanted to know if there was a
mechanism to get in fouch with the industry (manufacturers, carriers, etc.) to lef them know the

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results of the TT Y Forum: Ed noted that as chairman of TTY Forum, he makes reports to other
industry committees/forums, which havé a diverse cross-section of members. Ed also nofed that he
receives written and oral requests for status briefings regarding TTY compliance. Judy noted that
the list serve includes everyone who has attended a TTY Forum and that she believes it is the
responsibility of the manufacturers to be compliant with the regulation. Ed also noted that he has
__. spoken with CEOs and CTOs at the carriers and manufacturers who know of this regulation and are

established deadli

—____—+—_ Karen Peltz-Strauss, FCC, noted that under Section 255 there is _a-directory_of points-of contact-and——_____
oo ms ee ‘have-been hundreds of voluntary points of contact. - Fak aon -Microsoft,-— ——----—-———

Reporting: Ed brought the forum back to the specifics of the implementation report. Steve Benno,
Lucent, noted that he would like to see more information from the industry than areport that
everything was fine. Ed noted that even if a company gave an oral report, the TTY Forum still
needs to have a written report for the meeting summary. Richard Brandt (Dick), Gallaudet
University agrees with Steve, but thinks that this should be a high-level bulletized report including
all aspects ofcompliance._Andrea Wi Iliams CTIA, would like.the ECC to. answer_what information

Ehzabeth Lyte, FEE, noted that they have received comments trom many, They are-about to give

recommendations to the full commission about the issues being discussed at TTY Forum, She also ~~

noted that until the commission acts, she cannot speak for them. She explained that the FCC would

like an honest benchmark report on the status of implementation for the TTY regulation. She

expects that the FCC doesn’t want lengthy reports with unnecessary information. She noted that the

_ Forum should play a key role in reaching closure on these issues and that if the forum is the
clearinghouse for this information that we should be clear that all industry representatives have a

voice

Ed thanked-Elizabeth-for-her comments and-noted that he thought that anything longer- than-2-pages————_——
<A too tong Andres -neted that the-purpose-of these reports is to help the FEC and-the consumers to- aaa
krrow the status of compliance:

Toni Dunne, Positron Public Safety Solutions, reiterated her offer from TTY 15 to assist with
coordination of the field testing with the 91T systems. She wanted to be sure that this became part
of the individual company’s reports.

———.-_. -- Reporting Guidelines (detailed_in contribution) ——————___________.. =

Succested | Repert Criteria:

HOESE

sf

° Contains usefti information and issue identification itt a corneise fot mat
High-levet information, clarity and brevity are key

Contains benchmarks for closure (i.e. action items and completion status for final
implementation) -

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« Keport significant issues that may impact Compliance date

Possible Content as appropriate to reporting entity:
e TTY-compatible infrastructure and handset availability for testing (refer to consumer
requirements)

oe _ PSAP testing coordination

Cane d tae
Constiiter end-te=-end tes

8. Industry Implementation Status Reports (Also see Appendix L)
Ed Hall asked that the indtistry meriibers make oral reports to the forum and follow those comments
up with a written report to be added to the meeting summary.

Ericsson: Steve Coston provided a power point presentation on Ericsson’s Network solution for
GSM through the use of a Service Node. Copies of the slides were provided to ATIS as part of
Ericsson’s status report_Please see Appendix L for more detail_ He noted that although Ericsson is
working onal technologies, this-solution presentation is specific for the GSM Networks

he ade ae tar Wircloss supports this sok ution to the problem and is willing to————————

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WOrLK with Er MSs0lr, Steve explained d-that-E LATO S Suid has cemonstt ated this network solution to their

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GSM NA CUSTOMECTS anc tS also brief fing Tem and other manufacturers with respect TO the solution
and the implementation roadmap.

Brye Bonner wanted to know what happened when they put TurboCode into the system. Steve
answered that he does not have the data with him and cannot speak to that question

Steve noted that they are talking about their CTM algorithm based on their designed code for TTY
compatibility in the GSM technology. Steve also noted that Ericsson is addressing the roaming
issues in and out of network

Steve Renne from I dress the service nodeissune Steve C noted

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Cds would-be routed rthroug IT UHC SOr vice HOde, Steve B: also wanted to know tf that requir Cad Useis
toregister for the service. Ericsson answered that this “class mark” or consumer identification can
be managed transparently tor the consumer and that this ts not a limitation of the service node. The
service node would support both 917 and non-91T calls.

Lucent Technologies, P.J. Goman noted that they are moving forward with their implementation
strategy. Their development is complete and they are moving toward testing. They are working
with partners for CDMA and TDMA on this. The next issue is to prepare for First Office
Application ( (EQOA) process. Lucent is willing to_ensure that they work with the service provide and

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emercency. industry to test their products There 1s an issue with timing for their availabili Vy
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h ofth els oth dept ith ich th L ; 1
OCCAUSC- Of tACH -Ferance of the handset with waen they-are DAavire-Pproorenys

Jennifer Cote, Sprint PCS, wanted to know what their status ison the 1900 megahertz solution and
whether there was a Stattis on the algorythym Changes. Steve answered that they found that with the
Quaicomm phones there were some problems with the standards and they will be presenting another
issue at the next standards meeting. The problem is with the TTY character start-up and false

alarms. They haven’t started their 1900 solution because they have no phone vendor for that

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Andrea Williams; CTIA, commended Ultratec for offering a royalty- -free license to the wireless
MOUS.

Al Lucas, Motorola expressed a concern that this forum has worked for the past two years to
develop a standardized solution that went through an expedited standards process. This solution did
not include Turbo Code. He noted that suddenly coming forth with a recommendation to include

____.____ Turbo Code would prove difficult for the industry, which has been working on implementing

proposed and standardized solutions. Ron pointed out that this 1s not new_and that this was

_——-——-iseussod-in-provious forum.discussions-when the solutions were first proposed,

Peter-bee, Amer sphone-noted that they atso-offer-a proprietary HiSpeed™ code witir an on-off— —
button, They also offer it royalty tree for those who wish to use it; Sonny, CAN, wanted to know

what happens if Turbo Code and high speed were compatible with each other. He also noted that
TDI has been trying to set up TTY standards for 20 years to know avail). He wanted to know if it
was possible for ATIS to set up TTY standards.

Dick Brandt, Gallaudet University, noted that TTY devices need to be able to intercept the

“handshake” when Turbo Code is available otherwise there would be widespread garbling of

information-underthe current _solutions._ Karen, FCC, wanted to know. what-_happens when Turbo
—_______--_Code-interacts_-with HiSpeed™ —Answer- They are not compatible,butifa HiSpeed-unit talks to a— —_____
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that WH hen WEY into F UPOUU COU it causes itrittal Bal bhing-

Jim Huntley, Lucent; noted that they have been doing a little bit of testing on Turbo Code and has
found that ifthey have only one Turbo Code device, it doesn’t cause a problem. [f there are two
Turbo Code devices, and they communicate in Turbo Code, there is significant garbling. He also
noted that it far surpasses the one- percent error rate required in the “consumer requirements.” He
noted that when the TTYs operate in 45.5 Baud Baudot, it works fine. Gary noted that if the
industry deals with Turbo Code and another proprietary code is introduced, the original solution

_______wireless digital solution doesn” *t-work-wellthan-the current-units-wit have-problems>--—--———————-

Karen, FCC, noted that this isa significant problem. She also explained that the industry has to find~
~ a Solution to this problem not only for TTY, but also for other regulations, 255. She suggests that —

the industry begin the process for standards in order to be able to meet FCC regulations. She noted
‘that as it stands, the industry is thwarting the efforts of the FCC to provide accessibility.

Ron answered that standardization might be reasonable if Turbo Code was being supported in the
_____—— wireless network, however this is the disabling of the Turbo Code handshake to prevent possible =

problems. Karen_understands.that.it is not that simple- ifa. consumer_is not.aware_of the Turbo Code

and how. to turn it off especially 4 ift-ean emeroency city

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Steve Benito; Earcent rroted trattie Tro nas beetr ~ active it standar Urner Ty, As the TOU

goes forward with multi-media, they are concerned that the deaf and hard of hearmg are not teft
belind” The ITU is also concerted that we are only concerned with English-language TTY He
believes that it 1s disappointing that we are continuing f0 look solely at English-only solutions.

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